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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                                            Chapter 7

               TRANSCARE CORPORATION, et al.,                                      Case No.: 16-10407 (SMB)
                                                                                   Jointly-Administered
                            Debtors.
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  ORDER, PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019(a),
     APPROVING THE MUTUAL RELEASE AND SETTLEMENT AGREEMENT
      BY AND BETWEEN THE CHAPTER 7 TRUSTEE, ON BEHALF OF THE
  DEBTORS’ ESTATES, WELLS FARGO BANK, N.A., AND MONTEFIORE MEDICAL
           CENTER, MONTEFIORE MOUNT VERNON HOSPITAL AND
                MONTEFIORE NEW ROCHELLE HOSPITAL

               Upon the Motion (the “Motion”)1 of Salvatore LaMonica, the Chapter 7 Trustee (the

 “Trustee”) of the jointly administered estates of TransCare Corporation et al. (collectively, the

 “Debtors”), by his counsel, LaMonica Herbst & Maniscalco, LLP, seeking entry of an Order,

 pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy Procedure, approving the mutual

 release and settlement agreement by and between the Trustee, on behalf of the Debtors’ Estates,

 Wells Fargo Bank, N.A., and Montefiore Medical Center, Montefiore Mount Vernon Hospital

 and Montefiore New Rochelle Hospital, annexed to the Motion as Exhibit “A” (the

 “Stipulation”); and the Court having found that the relief sought by the Trustee in the Motion is

 warranted; and no additional notice being necessary or required; now, therefore, it is hereby

               ORDERED, that the Stipulation is approved; and, it is further




                                                             
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  Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion and/or the
 Stipulation.
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        ORDERED, that the Trustee is authorized to deposit the Estate Payment in the amount

 of $20,000 paid from the Settlement Sum to the TransCare Corporation estate; and, it is further

        ORDERED, that the Trustee is authorized and empowered to expend such funds and

 execute and deliver any and all documents as are reasonably necessary to implement the terms of

 this Order.

 Dated: January 11th, 2017
        New York, New York


                                             /s/ STUART M. BERNSTEIN___
                                             Hon. Stuart M. Bernstein
                                             United States Bankruptcy Judge
